           Case 23-21122-jrs               Doc 1           Filed 10/06/23 Entered 10/06/23 13:27:41                             Desc Main
                                                           Document      Page 1 of 35
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


 Northern
 ____________________ District of Georgia
                                  _________________
                                  (State)
 Case number (If known): _________________________ Chapter _____     7                                                             Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                        ______________________________________________________________________________________________________
                                           Evenroute, LLC



 2.   All other names debtor used          ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                        –                 ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                     Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business

                                           43 Sassafras Ridge
                                           ______________________________________________                _______________________________________________
                                           Number     Street                                             Number     Street

                                           11100 Big Canoe
                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box

                                           ______________________________________________
                                           Big Canoe                      GA     30143                   _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                           ______________________________________________
                                           Dawson
                                           County                                                        _______________________________________________
                                                                                                         30 Hubbard Rd
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         Unit I12

                                                                                                         _______________________________________________
                                                                                                         Marble Hill                GA        30143
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)               ____________________________________________________________________________________________________
                                           evenroute.com




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Debtor        _______________________________________________________
              Evenroute, LLC                                                                Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




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Debtor         _______________________________________________________
               Evenroute, LLC                                                               Case number (if known)_____________________________________
               Name



 9.   Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

 10. Are any bankruptcy cases             No
      pending or being filed by a
      business partner or an              Yes. Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this       Check all that apply:
      district?
                                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have          No
      possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                            Number          Street

                                                                            ____________________________________________________________________

                                                                            _______________________________________         _______ ________________
                                                                            City                                            State ZIP Code


                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name     ____________________________________________________________________

                                                           Phone            ________________________________




              Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor        Evenroute, LLC
            _______________________________________________________                             Case number (if known)_____________________________________
            Name




 13. Debtor’s estimation of              Check one:
     available funds                      Funds will be available for distribution to unsecured creditors.
                                         X After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                         

                                         X 1-49
                                                                             1,000-5,000                                25,001-50,000
 14. Estimated number of
                                          50-99                              5,001-10,000                               50,001-100,000
     creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                         X $0-$50,000                        $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                         X $500,001-$1 million               $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                         10/03/2023
                                             Executed on _________________
                                                         MM / DD / YYYY


                                              /s/ Jonathan Foulkes
                                             _____________________________________________
                                                                                                          Jonathan Foulkes
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   CEO
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor       Evenroute, LLC
            _______________________________________________________                     Case number (if known)_____________________________________
            Name




 18. Signature of attorney
                                           /s/ John K. Rezac
                                          _____________________________________________            Date
                                                                                                              10/06/2023
                                                                                                              _________________
                                          Signature of attorney for debtor                                    MM    / DD / YYYY


                                             John K. Rezac
                                         _________________________________________________________________________________________________
                                         Printed name
                                             Taylor English Duma LLP
                                         _________________________________________________________________________________________________
                                         Firm name
                                             1600 Parkwood Cir., Suite 200
                                         _________________________________________________________________________________________________
                                         Number        Street
                                           Atlanta                                              GA               30339
                                         ____________________________________________________ ____________ ______________________________
                                         City                                                  State        ZIP Code
                                                                                                          jrezac@tayloreng;lish.com
                                            678/336-7195
                                         ____________________________________                            __________________________________________
                                         Contact phone                                                   Email address



                                           601935                                    Georgia
                                         ______________________________________________________ ____________
                                         Bar number                                             State




 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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  Fill in this information to identify the case:

              Evenroute, LLC
  Debtor name __________________________________________________________________


                                         Northern                          Georgia
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                            (State)
  Case number (If known):    _________________________                                                                                 Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:    Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

    No. Go to Part 2.
    Yes. Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                     0
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                  Last 4 digits of account number
        Bank OZK
   3.1. _________________________________________________ Checking
                                                          ______________________                   1 ____
                                                                                                ____    5 ____
                                                                                                             5 ____
                                                                                                                  4                  4,525.00
                                                                                                                                   $______________________
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____                $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                      4,525.00
                                                                                                                                   $______________________




Part 2:    Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

    No. Go to Part 3.
    Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                     page 1
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Debtor         _______________________________________________________             Case number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes. Fill in the information below.
    XX
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                           0
                                                                                                                                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:          485.97
                                  ___________________________          485.97
                                                              – ___________________________          = ........                          0
                                                                                                                                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                       0
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    XX No. Go to Part 5.

     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
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Debtor           Evenroute, LLC                           Document
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              Name




Part 5:   Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
     No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used     Current value of
                                                    physical inventory    debtor's interest     for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

20. Work in progress
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________

21. Finished goods, including goods held for resale
                                                      9/30/2023
                                                    ______________            32,502                                         32,502
   ________________________________________                               $__________________   ______________________   $______________________
                                                    MM / DD / YYYY

22. Other inventory or supplies
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                         $__________________    ______________________


23. Total of Part 5                                                                                                            32,502
                                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     No
     Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value _______________            Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     No
     Yes
Part 6:   Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                 Net book value of     Valuation method used     Current value of debtor’s
                                                                          debtor's interest     for current value         interest
                                                                          (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________          $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________          $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________    $______________________


Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                          page 3
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Debtor           Evenroute, LLC                           Document
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                                                                                  Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

    
    XX No
     Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
    XX
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
    XX
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

    
    XX No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    XX No. Go to Part 8.

     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

    
    XX No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

    
    XX No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
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 Debtor         Evenroute,LLC                             Document
              _______________________________________________________  Page 10 of Case
                                                                                   35 number (if known)_____________________________________
              Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
    XX
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________    ____________________   $______________________

   47.2___________________________________________________________          $________________    ____________________   $______________________

   47.3___________________________________________________________          $________________    ____________________   $______________________

   47.4___________________________________________________________          $________________    ____________________   $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________     ____________________   $______________________

   48.2__________________________________________________________          $________________     ____________________   $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________     ____________________   $______________________

   49.2__________________________________________________________          $________________     ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________     ____________________   $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     No
    XX
     Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     No
   XX
     Yes




 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                       page 5
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Debtor             Evenroute, LLC                           Document
               _______________________________________________________   Page 11 of Case
                                                                                     35 number (if known)_____________________________________
               Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    
    XX No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
     No
    XX

     Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    XX No
     Yes
Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    XX Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                   Undetermined
                                                                                  $_________________   ______________________      Undetermined
                                                                                                                                $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                              Undetermined
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
             Case 23-21122-jrs                     Doc 1   Filed 10/06/23 Entered 10/06/23 13:27:41 Desc Main
Debtor             Evenroute, LLC                          Document
                _______________________________________________________ Page 12 of Case
                                                                                    35 number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    XX No
     Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
     No
    XX
     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
     No
     Yes
Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     No. Go to Part 12.
    
    XX Yes. Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                   debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                      _______________ –   __________________________         =   $_____________________
    ______________________________________________________
                                                                      Total face amount   doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                        Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Kent McIntosh v Evenroute LLC
    ______________________________________________________________                                                                    Undetermined
                                                                                                                                  $_______________________
    Nature of claim                     Counterclaim for Breach of Conbtract
                                      ___________________________________

    Amount requested                     TBD
                                      $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                 $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                   $_____________________
   ____________________________________________________________                                                                   $_____________________

78. Total of Part 11.
                                                                                                                                  $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    XX No
     Yes
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                page 7
               Case 23-21122-jrs                         Doc 1          Filed 10/06/23 Entered 10/06/23 13:27:41 Desc Main
                     Evenroute, LLC                                     Document     Page 13 of Case
                                                                                                 35 number (if known)_____________________________________
Debtor            _______________________________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                               Current value of                        Current value
                                                                                                      personal property                       of real property

                                                                                                             4,525.00
                                                                                                         $_______________
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.


81. Deposits and prepayments. Copy line 9, Part 2.                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                           $_______________


83. Investments. Copy line 17, Part 4.                                                                   $______________


84. Inventory. Copy line 23, Part 5.                                                                     _$     32,502


85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                         $_______________
     Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................            $________________


89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $_______________


90. All other assets. Copy line 78, Part 11.                                                        + $_______________

                                                                                                            37027.00
91. Total. Add lines 80 through 90 for each column. ............................ 91a.                    $_______________            + 91b. $________________


92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................      37027.00
                                                                                                                                                                  $__________________




Official Form 206A/B                                                       Schedule A/B: Assets  Real and Personal Property                                              page 8
              Case 23-21122-jrs                        Doc 1       Filed 10/06/23 Entered 10/06/23 13:27:41                                  Desc Main
                                                                   Document     Page 14 of 35
  Fill in this information to identify the case:

               Evenroute, LLC
  Debtor name __________________________________________________________________
                                           Northern
  United States Bankruptcy Court for the: ______________________              Georgia
                                                                 District of _________
                                                                                        (State)

  Case number (If known):      _________________________
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
     No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     Yes. Fill in all of the information below.
 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                              Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                               Amount of claim         Value of collateral
                                                                                                                              Do not deduct the value that supports this
                                                                                                                              of collateral.          claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                         Contingent
     Yes. Specify each creditor, including this creditor,       Unliquidated
             and its relative priority.                          Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________               $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                 No
                                                                 Yes
    Date debt was incurred __________________                   Is anyone else liable on this claim?
    Last 4 digits of account
                                                                 No
    number                   ___ ___ ___ ___
                                                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                         Contingent
     Yes. Have you already specified the relative               Unliquidated
             priority?                                           Disputed
         No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                               $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                            page 1 of _1_
                 Case 23-21122-jrs                      Doc 1             Filed 10/06/23 Entered 10/06/23 13:27:41                                Desc Main
   Fill in this information to identify the case:                         Document     Page 15 of 35

   Debtor            Evenroute, LLC
                    __________________________________________________________________

                                             Northern
   United States Bankruptcy Court for the: ______________________              Georgia
                                                                  District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                     Check if this is an
                                                                                                                                                       amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     No. Go to Part 2.
     Yes. Go to line 2.
 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address                                                                          44.59
                                                                          As of the petition filing date, the claim is: $______________________     $_________________
      Georgia Sales Tax
     __________________________________________________________________   Check all that apply.
    1800 Century Blvd NE
    ___________________________________________                            Contingent
                                                                           Unliquidated
    Atlanta, GA 30345
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    1/1/2023 - date
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number       7793
                ___  ___ ___ ___                                           No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________     $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________     $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                            Contingent
                                                                           Unliquidated
    ___________________________________________                            Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                     3
                                                                                                                                                         page 1 of ___
             Case 23-21122-jrs
              Evenroute, LLC                 Doc 1        Filed 10/06/23 Entered 10/06/23 13:27:41 Desc Main
  Debtor       _______________________________________________________
               Name                                       Document     Page 16 of Case
                                                                                   35 number (if known)_____________________________________
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    67,089.79
    Iridess, LLC                                                 Check all that apply.                                     $________________________________
    ____________________________________________________________
                                                                  Contingent
    11100   Big  Canoe                                            Unliquidated
    ____________________________________________________________  Disputed
     Big Canoe, GA 30143
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            12/2015 - date
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    364,000
                                                                                                                           $________________________________
    Steve Christianson                                           Check all that apply.
    ____________________________________________________________
                                                                  Contingent
    4971   Fiore Trail                                            Unliquidated
    ____________________________________________________________  Disputed
     Round Rock, TX 78665
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            6/2015 - date
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:    261,797.29
    Jonathan Foulkes                                             Check all that apply.                                     $________________________________
    ____________________________________________________________
                                                                  Contingent
    43 Sassafras Ridge 11100                                      Unliquidated
    ____________________________________________________________  Disputed
     Big Canoe, GA 30143
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred
                                               6/2015 - date
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:     19,400
    Small Business Adminsitration
    ____________________________________________________________
                                                                           Check all that apply.                           $________________________________
                                                                            Contingent
                                                                            Unliquidated
    ____________________________________________________________            Disputed
     Washington, D.C. 20416
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            7/6/2020
                                               ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number             8001
                                               ___ ___ ___ ___              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                            Contingent
    ____________________________________________________________
                                                                            Unliquidated
                                                                            Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                  Contingent
    ____________________________________________________________
                                                                  Unliquidated
                                                                  Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                            No
    Last 4 digits of account number            ___ ___ ___ ___              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   3 of ___
                                                                                                                                                  page __    3
             Case 23-21122-jrs
              Evenroute, LLC             Doc 1      Filed 10/06/23 Entered 10/06/23 13:27:41 Desc Main
 Debtor        _______________________________________________________
               Name                                 Document     Page 17 of Case
                                                                             35 number (if known)_____________________________________
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a. Total claims from Part 1                                                                 5a.
                                                                                                              44.59
                                                                                                        $_____________________________




                                                                                                         712,287.08
5b. Total claims from Part 2                                                                 5b.   +    $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.
                                                                                                         712,331.67
                                                                                                        $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                  page __ of ___
             Case 23-21122-jrs               Doc 1        Filed 10/06/23 Entered 10/06/23 13:27:41                               Desc Main
                                                          Document     Page 18 of 35
 Fill in this information to identify the case:

              Evenroute, LLC
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________ District of    _______
                                                                             (State)
 Case number (If known):    _________________________               Chapter _____



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       
       XX No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________            _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________           _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining        ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract         ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                       1
                                                                                                                                            page 1 of ___
             Case 23-21122-jrs                 Doc 1       Filed 10/06/23 Entered 10/06/23 13:27:41                                 Desc Main
                                                           Document     Page 19 of 35
 Fill in this information to identify the case:

              Evenroute, LLC
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1     _____________________        ________________________________________________________             _____________________              D                   
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

                                                                                                                                                                   
 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code
                                                                                                                                                                   
 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                 E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
                 Case 23-21122-jrs                              Doc 1             Filed 10/06/23 Entered 10/06/23 13:27:41                                                                  Desc Main
                                                                                  Document     Page 20 of 35

 Fill in this information to identify the case:

               Evdnroute, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                             Northern
 United States Bankruptcy Court f or the: _______________________              Georgia
                                                                  District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                Check if this is an
                                                                                                                                                                                                  amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                        12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                    0.00
                                                                                                                                                                                               $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                   37,027.00
                                                                                                                                                                                               $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                     37,027.00
                                                                                                                                                                                               $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   0.00
                                                                                                                                                                                               $ ________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                    44.59
                                                                                                                                                                                               $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b. Total am ount of claims of nonpriority am ount of unsecured claims:
                                                                                                                                                                                                    712,287.08
                                                                                                                                                                                             + $ ________________
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                  712,331.67
                                                                                                                                                                                               $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                 page 1
            Case 23-21122-jrs                Doc 1      Filed 10/06/23 Entered 10/06/23 13:27:41                              Desc Main
                                                        Document     Page 21 of 35
 Fill in this information to identify the case and this filing:


              Evenroute, LLC
 Debtor Name __________________________________________________________________

                                           Northern
 United States Bankruptcy Court for the: ______________________              Georgia
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         XX Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         XX Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         XX Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         XX Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         XX Schedule H: Codebtors (Official Form 206H)

         
         XX Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                     10/06/2028
        Executed on ______________                                /s/ Jonathan Foulkes
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Jonathan Foulkes
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Controlling member / CEO
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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Fill in this information to identify the case:

             Evenroute, LLC
Debtor name __________________________________________________________________

United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                       Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

       None
              Identify the beginning and ending dates of the debtor’s fiscal year, which       Sources of revenue                    Gross revenue
              may be a calendar year                                                           Check all that apply                  (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the                                                           Operating a business                 41,813
                                                  1/1/2023                                                                            $________________
             fiscal year to filing date:     From ___________
                                                    MM / DD / YYYY
                                                                      to     Filing date         Other _______________________

             For prior year:                      1/1/2022
                                             From ___________         to     12/31/2022
                                                                             ___________         Operating a business                 55,235
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other _______________________
                                                  1/1/2021                   12/31/2021          Operating a business
             For the year before that:       From ___________         to     ___________                                               109,967
                                                                                                                                      $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other _______________________


   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None

                                                                                               Description of sources of revenue     Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

             From the beginning of the
                                                                                               ___________________________           $________________
             fiscal year to filing date: From ___________             to     Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________           $________________




             For the year before that:       From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________           $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor             Evenroute, LLC
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




   Part 2:         List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None
                Creditor’s name and address                         Dates          Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.
                 Steve Christianson
                __________________________________________         9/1/2023
                                                                   ________          9,000
                                                                                   $_________________                 Secured debt
                Creditor’s name
                 4971 Fiore Trail
                                                                                                                      Unsecured loan repayments
                __________________________________________
                Street                                             ________                                           Suppliers or vendors
                __________________________________________                                                            Services
                 Round Rock              TX 78665
                __________________________________________
                City                          State    ZIP Code
                                                                   ________                                           Other _______________________________
                  
         3.2.

                __________________________________________         ________        $_________________                 Secured debt
                Creditor’s name
                                                                                                                      Unsecured loan repayments
                __________________________________________
                Street                                             ________                                           Suppliers or vendors
                __________________________________________                                                            Services
                __________________________________________
                City                          State    ZIP Code
                                                                   ________                                           Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).

          None
                Insider’s name and address                          Dates          Total amount or value        Reasons for payment or transfer
         4.1.
                 Steve Christianson
                __________________________________________         11/8/2022
                                                                  _________        15,000
                                                                                  $__________________          Settle outstanding invoices
                                                                                                               ___________________________________________
                Insider’s name
                 4971 Fiore Trail
                __________________________________________        _________                                    ___________________________________________
                Street
                __________________________________________        _________                                    ___________________________________________
                 Round Rock, TX 78665
                __________________________________________
                City                          State    ZIP Code


                Relationship to debtor
                 minority member / Contractor
                __________________________________________


         4.2.

                __________________________________________        _________       $__________________          ___________________________________________
                Insider’s name
                __________________________________________        _________                                    ___________________________________________
                Street
                __________________________________________        _________                                    ___________________________________________
                __________________________________________
                City                          State    ZIP Code



                Relationship to debtor

                __________________________________________



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Debtor              Evenroute, LLC
                   _______________________________________________________                                  Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None
                Creditor’s name and address                            Description of the property                                   Date               Value of property
         5.1.

                __________________________________________             ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________             ___________________________________________
                Street
                __________________________________________             ___________________________________________
                __________________________________________
                City                          State      ZIP Code

         5.2.

                __________________________________________             ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________             ___________________________________________
                Street
                __________________________________________             ___________________________________________
                __________________________________________
                City                          State      ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
          None
                 Creditor’s name and address                              Description of the action creditor took                    Date action was       Amount
                                                                                                                                     taken

                 __________________________________________             ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________             ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State      ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

          None
                 Case title                                   Nature of case                          Court or agency’s name and address                 Status of case
                 Kent McIntosh v Evenroute LLC                                                       Superior Court Dawson County, GA
         7.1.
                 _________________________________
                                                               Breach of Contract
                                                              ______________________________         __________________________________________          XXPending
                                                                                                     Name
                                                                                                                                                          On appeal
                                                                                                     __________________________________________
                                                                                                      25 Justice Wy Suite 1201
                 Case number                                                                         Street                                               Concluded
                                                                                                     __________________________________________
                                                                                                      Dawsonville, GA 30534
                  2021-CV-0538
                 _________________________________                                                   __________________________________________
                                                                                                     City                  State             ZIP Code
                  

                 Case title                                                                            Court or agency’s name and address
                                                                                                                                                          Pending
         7.2.
                 _________________________________            ______________________________         __________________________________________           On appeal
                                                                                                     Name
                                                                                                     __________________________________________
                                                                                                                                                          Concluded
                 Case number
                                                                                                     Street
                                                                                                     __________________________________________
                 _________________________________
                                                                                                     __________________________________________
                                                                                                     City                          State     ZIP Code


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Debtor              Evenroute, LLC
                   _______________________________________________________                            Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
          None
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                        Court name and address
                 __________________________________________
                 Street
                                                                     ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                 __________________________________________           Case number                                     __________________________________________
                 City                          State      ZIP Code                                                    Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
          None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


         9.1.
                __________________________________________           ___________________________________________                 _________________   $__________
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State      ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State      ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).

                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
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Debtor           Evenroute, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

          None
              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value

              Taylor English Duma LLP
              __________________________________________
     11.1.                                                        ___________________________________________              10/5/2023              10,000.00
                                                                                                                           ______________       $_________
              Address                                                 n/a
                                                                  ___________________________________________
              1600 Parkwood Cir., Ste 200
              __________________________________________
              Street
              __________________________________________
              Atlanta, GA 30339
              __________________________________________
              City                        State      ZIP Code


              Email or website address
               taylorenglish.com
              _________________________________

              Who made the payment, if not debtor?

               Debtor
              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

          None
              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
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Debtor           Evenroute, LLC
                _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


          None
         XX

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


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Debtor            Evenroute, LLC
                 _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
          Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

               Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                                  debtor provides                                                             and housing, number of
                                                                                                                                              patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                 ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                              Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                   State        ZIP Code       ____________________________________________________________
                                                                                                                                               Electronically
                                                                                                                                              Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         XX No.
         
             Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                 XX No
                  
                  
                         Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
         q Yes. Does the debtor serve as plan administrator?
                 No. Go to Part 10.
                 Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                         Has the plan been terminated?
                          No
                          Yes

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Debtor            Evenroute, LLC
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.

          None
               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

          None
                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________              No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                           Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           Address                                                                                   
               City                  State        ZIP Code
                                                               ____________________________________
                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

       None
                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                            No
                Georgia Mountain Storage
               ______________________________________          Jonathan Foulkes
                                                               __________________________________          Finished and raw product inventory
                                                                                                           __________________________________
               Name
                                                                                                                                                            Yes
                                                               Liz Scherer
                40 Hubbard Rd
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
                unit I12
               ______________________________________
                Marble Hill       GA         30148
               ______________________________________            Address                                                                                   
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



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Debtor           Evenroute, LLC
                _______________________________________________________                               Case number (if known)_____________________________________
                Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

          None
              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


          No
          Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________        Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                     On appeal
              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                     Concluded
                                                                                                           __________________________________
                                                             _____________________________________                                                  
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

          No
          Yes. Provide details below.
             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor           Evenroute, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
          No
          Yes. Provide details below.
             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.

          None

              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




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Debtor                Evenroute, LLC
                     _______________________________________________________                         Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
                 Name and address                                                                                  Dates of service

                                                                                                                        2/2017
                                                                                                                   From _______          9/2023
                                                                                                                                      To _______
     26a.1.      Gigi Brady CPA LLC
                 __________________________________________________________________________________
                 Name
                 419 E Crossville Rd Suite 102
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 Roswell                                       GA                  30075-3000
                 __________________________________________________________________________________
                 City                                               State                 ZIP Code


                 Name and address                                                                                  Dates of service

                                                                                                                   From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                               State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                 None
                        Name and address                                                                           Dates of service

                                                                                                                   From _______       To _______
           26b.1.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                            State                 ZIP Code


                        Name and address                                                                           Dates of service

                                                                                                                   From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                            State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                        Name and address                                                                           If any books of account and records are
                                                                                                                   unavailable, explain why


            26c.1.       Jonathan Foulkes
                        ______________________________________________________________________________             _________________________________________
                        Name
                        43 Sassafras Ridge, 11100                                                                  _________________________________________
                        ______________________________________________________________________________
                        Street                                                                                     _________________________________________
                        ______________________________________________________________________________
                        Big Canoe                                     GA                  30143
                        ______________________________________________________________________________
                        City                                            State                 ZIP Code



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Debtor                 Evenroute, LLC
                      _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                 None
                         Name and address


             26d.1.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     No
    Yes. Give the details about the two most recent inventories.


                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory

                Jonathan Foulkes
                ______________________________________________________________________                9/30/2023
                                                                                                     _______        32,502 cost basis
                                                                                                                  $___________________

                 Name and address of the person who has possession of inventory records


     27.1.        Jonathan Foulkes
                 ______________________________________________________________________
                Name
                 43 Sassafras Ridge, 11100
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                 Big Canoe                                         GA           30143
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor
                Evenroute, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

              ______________________________________________________________________              _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
               Jonathan Foulkes
              ____________________________         43 Sassafras Ridge, Big Canoe
                                                   _____________________________________________         Member / CEO
                                                                                                         ____________________________             90
                                                                                                                                                 _______________
               Steve Christianson
              ____________________________
                                                   4971 Fiore Trail, Round Rock, TX
                                                   _____________________________________________
                                                                                                            Member / Contractor
                                                                                                         ____________________________
                                                                                                                                                  10
                                                                                                                                                 _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     No
    Yes. Identify below.
              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
     No
   
    Yes. Identify below.
              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.    ______________________________________________________________                 $24,000.00
                                                                                          _________________________            9/1/2023
                                                                                                                              _____________      services rendered
                                                                                                                                                 ____________
              Name   Steve Christianson
              ______________________________________________________________
              Street                                                                                                          11/8/2022____
                                                                                                                             _________
                     4971 Fiore Trail
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City  Round Rock, TX 78665          State         ZIP Code

              Relationship to debtor                                                                                         _____________

                minority member, contractor
              ______________________________________________________________                                                 _____________

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Debtor           Evenroute, LLC
                _______________________________________________________                            Case number (if known)_____________________________________
                Name




              Name and address of recipient
                                                                                            __________________________       _____________     ______________

     30.2     ______________________________________________________________
              Name                                                                                                           _____________
              ______________________________________________________________
              Street                                                                                                         _____________
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                           State      ZIP Code


              Relationship to debtor                                                                                         _____________

              ______________________________________________________________



   31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
          No
          Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
          No
          Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       10/06/2023
                              _________________
                               MM / DD / YYYY



               /s/ Jonathan Foulkes
             ___________________________________________________________
                                                                                                          Jonathan Foulkes
                                                                                          Printed name _________________________________________________
             Signature of individual signing on behalf of the debtor

                                                   CEO
             Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         XX No
          Yes



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